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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-1314] (KIC)
Debtors. Jointly Administered
Objection Date: November 12, 2010 at 4:00 p.m.
Hearing Date: Onip if Objections are filed

SEVENTEENTH MONTHLY FEE APPLICATION OF SIDLEY AUSTIN LLP FOR
COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
EXPENSES AS COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION
FOR THE PERIOD OF MAY 1, 2010 THROUGH MAY 31, 2010

Name of Applicant: Sidley Austin LLP

Authorized to Provide Debtors
Professional Services to:

Date of Retention: February 20, 2009 (@iunc pro tunc to
December 8, 2008)

’ The Debtors in these chapter 1[ cases, along with the last four digits of each Debtor's federal tax identification number, are; Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Ine. (0439); Chicago Tribune Press Service, Inc, (3167); ChicagoLand Microwave Licensee, Inc. (1579),
Chicagoland Publishing Company (3237); Chicagoland Television News, Ine. (1352); Courant Specialty Products, Inc. {9221}; Direct Mail
Associates, Inc, (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Ine,
(2663), Internet Foreclosure Service, Inc. (6550), JuliusAir Company, LLC (9479); JuliusAir Company H, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404}; KWGN Ine. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Negcomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc, (2027); Shepard's Inc. (7931); Signs of Distinction, Inc, (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Moming Call, Inc. (7560); The Other Company LLC (5337),
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); FMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Haldings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534), Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tibune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847), Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc, (9939); Fribune Publishing Company (9720), Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., fk/a WTXX
Inc, (1268); WCWN LLC (5982); WDOCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLYI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
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Period for Which Compensation May 1, 2010 through May 31, 2010
and Reimbursement is Sought:

Amount of compensation sought as actual, $2,543,374.93
reasonable and necessary:

Amount of Expense Reimbursement sought as $111,081.62
actual, reasonable and necessary

This is a(n): X monthly interim final application

Requested Payment Amount:
Fees at 80% $2,034,699.94

Expenses at 100% $111,081.62
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FEE SUMMARY FOR THE PERIOD FROM
MAY 1, 2010 THROUGH MAY 31, 2010

Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total

Compensation

Suresh T. Advani

Partner/

Tax/

18 years.
Admitted 1992,

$800

0.60

$480.00

Larry A. Barden

Partner/
Corporate/

28 years.
Admitted 1982.

$825

59,70

$49,252.50

James F, Bendernagel, Jr.

Partner/
Litigation/

33 years.
Admitted 1977.

$775

206.50

$160,037.50

John R. Box

Partner/
Corporate/

29 years.
Admitted 1981.

$685

2.20

$1,507.00

Stephen C. Carlson

Partner/
Litigation/

33 years.
Admitted 1977.

$735

8.00

$5,880.00

Paul S. Caruso

Partner/
Bankruptcy/

14 years.
Admitted 1996.

$725

104.90

$76,052.50

James F. Conlan

Partner/
Bankruptcy/

22 years.
Admitted 1988.

$950

153.50

$145,825.00

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Compensation

Stephen G. Contopulos

Partner/
Litigation/

38 years.
Admitted 1972.

$725

0.80

$580.00

James W. Ducayet

Partner/
Litigation/

14 years.
Admitted 1996.

$685

200.70

$137,479.50

Steven A. Ellis

Partner/
Litigation/

16 years.
Admitted 1994.

$700

0.20

$140.00

Max C. Fischer

Partner/
Employment/
15 years.
Admitted 1995.

$625

62.20

$38,875.00

Ronald 8. Flagg

Partner/
Litigation/

29 years.
Admitted 1981.

$650

6.00

$3,900.00

Cliff Fonstein

Partner/
Litigation/

15 years.
Admitted 1994.

$775

5.90

$4,572.50

Lawrence R. Fullerton

Partner/
Litigation/

32 years.
Admitted 1978.

$800

1.80

$1,440.00

Brian J. Gold

Partner/
Employment/
28 years.
Admitted 1982.

$725

5.50

$3,987.50

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Janet E. Henderson

Partner/
Bankruptcy/

28 years.
Admitted 1982.

$850

204.90

$172,252.50

Scott J. Heyman

Partner/

Tax/

23 years.
Admitted 1987.

$725

23.50

$17,037.50

Robert W. Hirth

Partner/
Litigation/

31 years.
Admitted 1979.

$875

1.00

$875.00

Michael Hyatte

Partner/
Regulatory/

3] years.
Admitted 1979,

$875

0.70

$612.50

Matthew E. Johnson

Partner/
Employee
Benefits/

18 years.
Admitted 1992.

$685

0.20

$137.00

Kenneth P. Kansa

Partner/
Bankruptcy/

11 years.
Admitted 1999.

$700

142.00

$98,000.00

Bryan Krakauer

Partner/
Bankruptcy/
28 years.
Admitted 1982.

$925

103.40

$88,938.75

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Kevin T. Lantry

Partner/
Bankruptcy/

29 years.
Admitted 1991.

$850

193.00

$155,040.00

Robert J. Lewis

Partner/
Banking/

15 years.
Admitted 1995,

$650

6.20

$4,030.00

Jonathan D. Lotsoff

Partner/
Employment/
16 years,
Admitted 1994.

$650

78.00

$50,700.00

Larry J, Nyhan

Partner/
Bankruptcy/

30 years.
Admitted 1980.

$950

1.50

$1,425.00

Priscilla E. Ryan

Partner/
Employee
Benefits/

28 years.
Admitted 1982.

$735

5.60

$4,116.00

Mark D. Schneider

Partner/
Communications/
25 years.
Admitted 1985.

$700

28.70

$20,090.00

Gary B. Stern

Partner/
Banking/

28 years.
Admitted 1982.

$825

0.30

$247.50

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

James P. Young

Partner/
Litigation/

17 years.
Admitted 1993.

$605

33.00

$19,965.00

Jay H. Zimbler

Partner/

Tax/

35 years.
Admitted 1975.

$850

0.60

$510.00

Dean Kloner

Counsel/
Securitization/
22 years.
Admitted 1988.

$900

0.80

$720.00

William R.M. Long

Counsel/
Financial Services
Regulatory/

17 years.
Admitted 1993.

$808.30
$783.60
£500

15.00

$12,062.75

David M. Miles

Counsel/
Financial
Institution
Regulation/

31 years,
Admitted 1979,

$675

237.30

$160,177.50

Nicholas J. Alexiou

Associate/
Litigation/
1 year.
Admission
pending.

$250

62.90

$15,725.00

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Megan Nogasky Beer

Associate/
Litigation/

2 years.
Admitted 2008.

$355

6.10

$2,165.50

D’ Lisia E. Bergeron

Associate/
Bankruptcy/

4 years.
Admitted 2006.

$525

107.70

$56,542.50

Jessica C.K. Boelter

Associate/
Bankruptcy/

§ years.
Admitted 2002.

$650

260.70

$163,930.00

Brenna M. Clark

Associate/
Employee
Benefits/

2 years.
Admitted 2008.

$355

4.80

$1,704.00

Geo. Tyler Coulson

Associate/
Bankruptcy/

2 years.
Admitted 2008.

$425

5.70

$2,422.50

Gregory V. Demo

Associate/
Bankruptcy/

2 years,
Admitted 2008.

$425

134.60

$55,441.25

Bret T, Diskin

Associate/
Corporate/

I year.
Admitted 2009.

$315

38.10

$12,001.50

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Matthew R. Dornauer

Associate/
Litigation/

2 years.
Admitted 2008.

$355

10.20

$3,621.00

Katie M. Durick

Associate/
Litigation/

1 year.
Admitted 2009,

$325

55.30

$17,972.50

Jason J. Englund

Associate/
Employment and
Labor Law/

1 year.

Admitted 2009.

$355

2.10

$745.50

James A. Fortosis

Associate/
Litigation/

2 years.
Admitted 2008.

$355

36.70

$13,028.50

Rachel D. Gray

Associate/
Environmental
Law/

5 years,
Admitted 2005.

5475

1.60

$760.00

Bojan Guzina

Associate/
Bankruptcy/

8 years.
Admitted 2002.

$650

3.50

$2,275.00

Christopher R. Hale

Associate/
Corporate/

2 years.
Admitted 2008,

$355

6.40

$2,272.00

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total

Compensation

Lior Z. Heller
(formerly Lior Ziv)

Associate/
Employment and
Labor Law/

5 years.
Admitted 2005.

$510

0.60

$306.00

Eric G. Hoffman

Associate/
Litigation/

6 years.
Admitted 2004.

$650

36.90

$23,985.00

Seth H. Katz

Associate/
Corporate/

8 years.
Admitted 2002.

$530

1.50

$795.00

Geoffrey M. King

Associate/
Bankruptcy/

1 year.
Admitted 2009,

$375

3.40

$1,275.00

Candice L. Kline

Associate/
Bankruptcy/

2 years.
Admitted 2008.

$425

73.70

$31,322.50

Scott P. Kramer

Associate/
Litigation/

3 years.
Admitted 2007.

$395

66.80

$26,386.00

Christopher S. Krueger

Associate/
Corporate/

2 years.
Admitted 2008.

$355

1.60

$568.00

10

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Susan P. Lagana

Associate/
Litigation/

1 year.
Admitted 2009,

$325

85,10

$27,657.50

James P. Langdon

Associate/
Corporate/

4 years.
Admitted 2006.

$430

76,20

$32,766.00

Meredith Jenkins Laval

Associate/
Litigation/

3 years.
Admitted 2007.

$395

7.60

$3,002.00

Thomas Lindup

Associate/
Corporate/

7 years.
Admitted 2003.

$678.97
£420

0.80

$543.18

Jillian K. Ludwig

Associate/
Bankruptcy/

3 years.
Admitted 2007.

$475

132.30

$62,842.50

Shawn C. Luna

Associate/
Bankruptcy/

1 year.
Admitted 2009.

$375

6.50

$2,437.50

Adam McClay

Associate/
Litigation/

<1 year.
Admitted 2010.

$375

25,30

$9,487.50

Kerriann 8. Mills

Associate/
Bankruptcy/

5 years.
Admitted 2005.

$560

260.40

$140,140.00

1]

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Name of Professional/
individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total

Compensation

Ryan C. Morris

Associate/
Litigation/

3 years.
Admitted 2007.

$475

44,50

$21,137.50

Brett H. Myrick

Associate/
Bankruptcy/

1 year.
Admitted 2009.

$375

9.30

$3,487.50

Sandra F. Palmer

Associate/
Litigation/

7 years.
Admitted 2003.

$525

119.00

$62,475.00

Jen Peltz

Associate/
Litigation/

7 years.
Admitted 2003.

$515

94.80

$48,822.00

Christopher A. Ripple

Associate/
Litigation/

2 years,
Admitted 2008.

$355

11.30

$4,011.50

Allison E. Ross

Associate/
Bankruptcy/

2 years.
Admitted 2008.

$425

35.80

$15,215.00

Thomas E. Ross

Associate/
Litigation/

1 year.
Admitted 2009.

$325

31.90

$10,367.50

Brian S. Shull

Associate/
Litigation/

3 years.
Admitted 2007.

$395

23,90

$9,440.50

12

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Name of Professional/

Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Richard M. Silverman

Associate/
Tax/

3 years.
Admitted 2007.

$395

8.10

$3,199.50

Ariella Thal Simonds

Associate/
Bankruptcy/

2 years,
Admitted 2008.

$425

7.80

$3,315.00

Allison Leff Triggs

Associate/
Bankruptcy/

2 years.
Admitted 2008.

$425

71.90

$30,557.50

Nilofer Umar

Associate/
Litigation/

2 years,
Admitted 2008.

$355

12.50

$4,437.50

Patrick J. Wackerly

Associate/
Litigation/

3 years.
Admitted 2007,

$395

114.40

$45,188.00

Hsin Hsin Yang

Associate/
Bankruptcy/

2 years.
Admitted 2008.

$425

6.10

$2,592.50

Matthew T. Holohan

Staff Attorney
Litigation/

9 years.
Admitted 2001.

$245

38.40

$9,408.00

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Heather Irwin

Staff Attorney
Litigation/

10 years.
Admitted 2000.

$245

33.60

$8,232.00

Eva Mozena Brandon

Legal Assistant/
Litigation/
<1 year.

$190

7.30

$1,387.00

Richard Bryan

Legal Assistant/
Litigation/
2 years.

$190

37.00

$7,030.00

Beryl E. Dennis

Legal Assistant/
Litigation/
25 years.

$290

80.80

$23,432.00

Kevin Garvey

Legal Assistant/
Litigation/
3 years.

$215

6.80

$1,462.00

Kelley Gmoser

Legal Assistant/
Bankruptcy/
8 years.

$230

0.30

$69.00

Shirley Higashi

Legal Assistant/
Litigation/
5 years.

$195

0.80

$156.00

Megan Scholl Lindberg

Legal Assistant/
Litigation/
5 years.

$190

4.30

$817.00

Randall C. Luce

Legal Assistant/
Litigation/
11 years.

$265

10.10

$2,676.50

14

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Nancy J. Lusk

Legal Assistant/
Bankruptcy/
7 years.

$230

4,90

$1,127.00

David J. Lutes

Senior Legal
Assistant/
Bankruptcy/
25 years.

$285

41.90

$11,941.50

Eileen A. McDonnell-
O'Driscoll

Senior Legal
Assistant/
Bankruptcy/
24 years,

$290

0.60

$174.00

John Meehan

Legal Assistant/
Litigation/
10 years,

$240

10.10

$2,424.00

Branka V. Nastasic

Legal Assistant/
Corporate/

‘8 years.

$225

7.80

$1,755.00

Karen A. Nelms

Legal Assistant/
Litigation/
14 years.

$245

2.40

$588.00

James P. Platt

Legal Assistant/
Litigation/
8 years.

$200

26.80

$5,360.00

David R. Porter

Legal Assistant/
Litigation/
1 year.

$205

4.40

$902.00

Nebojsa Rebic

Legal Assistant/
Litigation/
14 years.

$225

2.90

$562.50

15

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Rebecca Richardson

Legal Assistant/
Litigation/
2 years,

$190

9.00

$1,710.00

Katherine Riley

Legal Assistant/
Litigation/
10 years.

$275

11.50

$3,162.50

Arturo J. Rodriguez

Legal Assistant/
Employment and
Labor Law/

1] years.

$190

3.60

$684.00

D’ Esprit Smith

Legal Assistant/
Food and Drug
Law/

<1 year.

$190

6.30

$1,197.00

Susan L. Summerfield

Legal Assistant/
Bankruptey/
18 years.

$190

44,90

$8,531.00

Laurie J. McCarty

Communications
Specialist/
14 years.

$265

37.90

$10,043.50

Lupe Fernandez

Project Assistant/
20 years.

$110

4.00

$440.00

Jeffrey V. Bosh

Librarian/
25 years.

$145

1.00

$145.00

Jennifer O. Butler

Librarian/
3 years.

$100

0.80

$80.00

16

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Name of Professional/
Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Ellen J, Kreis

Librarian/
12 years.

$160

0.50

$50.00

Michael P. Bawden

Litigation Support
Manager/
12 years.

$315

5.00

$1,575.00

Monica M. Blouin

Litigation
Support/
2 years.

$265

1.30

$344.50

Steven P. Cosgrove

Litigation
Support/
3 years.

$235

1.00

$235.00

Cheryl Gabriel

Litigation
Support/
12 years.

$130

0.30

$39.00

Madeline E. Glidden

Litigation
Support/
1 year.

$210

0.50

$105.00

Alex Godofsky

Litigation
Support/
<1 year,

$185

1.00

$185.00

Steven Hlynski

Litigation
Support/
6 years.

$210

4.50

$945.00

Daniel H. Lang

Litigation
Support/
6 years.

$185

1.00

$185.00

Rene Laurens

Litigation
Support/
4 years.

$265

12.20

$3,233.00

17

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Name of Professional/

Individual

Position, Area of
Expertise, Number
of Years in Position,
Year of Obtaining
License to Practice

Hourly
Billing
Rate

Total
Hours
Billed

Total
Compensation

Kimberly Littlejohn

Litigation
Support/
8 years.

$265

4.00

$1,060.00

Karin Nakai

Litigation Support
Coordinator/
20 years.

$265

15.90

$4,213.50

John Pan

Litigation
Support/
2 years.

$210

0.80

$168.00

JoAnne SanMateo

Litigation Support
Project Manager/
8 years.

$265

2.90

$768.50

Olivia Savell

Litigation
Support/
6 years.

$265

1.10

$291.50

Tanya Shim

Litigation
Support/
10 years.

$210

33.00

$6,930.00

Chris Stravropoulos

Litigation
Support/
] year.

$185

4.80

$888.00

Justin Tebbe

Litigation
Support/
] year.

$265

2.80

$742.00

Steve Young

Litigation
Support/
12 years.

$265

1.50

$397.50

Robert Singh

Docket Clerk
20 years,

$105

2.00

$210.00

18

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Name of Professional/ Position, Area of Hourly Total Total
Individual Expertise, Number | Billing —_—| Hours Compensation
of Years in Position, Rate Billed
Year of Obtaining
License to Practice
Grand Total 4,536.50 | $2,543,374.93"
Blended Rate $560.65

! $12,605.93 of this amount represents professional fees for services performed before May 1, 2010 that were not
included in any prior monthly fee application.

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COMPENSATION BY PROJECT CATEGORY FOR THE PERIOD FROM
MAY 1, 2010 THROUGH MAY 31, 2010

Matter Description Total Hours Total Fees
FCC Matters (20100) 171.60 $77,723.50"
Fee Applications (30390) 46,80 $12,751.50
Intellectual Property Issues 15.80 $12,605.93
Executory Contracts and Leases (30410) 12.50 $6,678.00
Vendor Issues 1,50 $840.00
Use/Sale/Lease of Assets (30430) 23.80 $19,979.50
Insurance Issues (30450) .20 $95.00
Committee-Related Matters (30460) 3.70 $2,707.50
Litigated Matters (30470) 2,020.90 $1,001,761.00
Travel Time (30480) (with 50% discount) 89.80 $32,001.50
Labor Issues (30490) 10.80 $6,160.00
Plan and Disclosure Statement (30500) 1,579.80 $1,073,360.00
Professional Retention (30510) 15.40 $8,080.00
Tax Issues (30520) 44.00 $25,537.50
Claims Processing (30530) 157.80 $83,025.00
Business Operations (30550) 149.00 $74,906.50
Case Administration (30560) 71.50 $27,506.00
Creditor Communications (30570) 1.20 $550.00
Bankruptcy Schedules (30580) 15,90 $7,485.00
Employee Issues (30590) 101.80 $67,866.50
2010 Exit Credit Facility (13700) 2.70 $1,755.00
TOTAL 4,536.50 $2,543,374.93°

2 $62,093.00 of this amount represents professional fees for FCC-related services attributable to Newspaper
Crossownership (120.40 hrs., $62,093.00 fees) which have been separately invoiced at the request of the Debtors.

3 $12,605.93 of this amount represents professional fees for services performed before May 1, 2010 that were not

included in any prior monthly fee application.

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EXPENSE SUMMARY FOR THE PERIOD FROM

MAY 1, 2010 THROUGH MAY 31, 2010

Expense Category Service Provider (if Total Expenses
applicable)
Air Transportation’ Various $14,282.26
Court Costs $58.00
Duplicating Charges” $8,032.38
Document Delivery Services $450.43
Document Services $44.74
Filing Fees $95.00
Ground Transportation $3,731.00
Lexis Research Service” Lexis $5,183.40
Meals Out-of-Town $891.68
Meals $3.00
Messenger Services $46.79
Other $8.43
Overtime Services $2,666.58
Document Production $525.00
Professional Services/Specialists $35,151.40
Publications $26.50
Search Services $272.82
Telephone Tolls $1,819.93
Travel/Lodging $9,709.35
Westlaw Research Service® Westlaw $28,082.93

Total

$111,081.62

4 Air transportation during the period covered by this Application is charged at the prevailing economy-class rate for
such travel less any corporate discounts received by Sidley, in accordance with Sidley’s policies for business travel

for bankruptcy and non-bankruptcy matters.

° Sidley’s rate for standard (non-color) copying is $0.10 per page and is in compliance with the rates as required by

Local Rule 2016-2(e)(iti}.

6 Sidley charges its clients for computer-assisted legal research at a rate that recovers no more than the Firm’s cost.

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